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   State Rep. Pringle: Proposal to create second Democrat
   congressional district could help GOP — ‘I call it the Republican
   opportunity plan’
   By      Jeff Poor October 31, 2021




(Screenshot/APTV)



   During this week’s broadcast of Alabama Public Television’s “Capitol Journal,” State Rep. Chris Pringle (R-Mobile), the chairman
   of the reapportionment effort in the House of Representatives, addressed a proposal offered by Democrats that could create
   two Democrat-leaning congressional districts in Alabama.

   Pringle told host Don Dailey the proposal meant to help Democrats could give Republicans all seven of Alabama’s congressional
   seats.




   “If you remember, the seventh congressional district was drawn when the Democrats were in the supermajority in the Alabama
   Legislature,” he said. “And they drew that district to be a majority-minority district. It’s remained that way because once it is
   there, it is protected under Section 2 of the Voting Rights Act. But the plan they had brought forth — the seventh congressional
   district is no longer a majority-minority district, and neither is the second [district].”

   “I call it the Republican opportunity plan,” Pringle continued. “Without being a majority-minority district, you can see where
   Republicans might be able to win all seven congressional districts.”
